     Case 1:16-cr-20913-KMW Document 30 Entered on FLSD Docket 12/21/2017 Page 1 of 6

USDC CLSD 2458 (Rtv,09/08)-JudamentinaCriminzlCase                                                        Pap.elof6


                          U N IT E D ST A T E S D IST R IC T C O U R T
                                                Southern D istrict ofFlorida
                                                       M iam iD ivision

   UNITED STA TES O F A M ER ICA                               JU D G M EN T IN A CR IM INA L C A SE
                        V.
            ALI ISSA CH AM A S                                 CaseNumber:113C 1:16-20913-CR-W ILLIAM S
                                                               U SM N um ber:14819-104

                                                               CounselForDefendant:AFPD,Adebunm iLom ax
                                                               CounselForTheUnited States:A USA ,Aim eeC.Jim enez
                                                               CourtReporter:Patricia Sanders
TheDefendantpleadedguiltytoCountts)OneoftheOne-countIndictment.
TheDefendantisadjudicatedguiltyoftheseoffenses:
TITLE & SECTION                    NATURE OF OFFEN SE                                       OFFENSE         COUNT
                                                                                            EN DE D
                                   Conspiracy to distribute 500 gram s orm ore ofcocaine
21U.S.C.j963                       knowingthatitwouldbeimportedintotheUnited                11/30/2016      1
                                   States
The Defendant is sentenced as provided in the following pages ofthisjudgment.The sentence is imposed
pursuantto the Sentencing Refonn A ctof l984.
ltis ordered thatthe Defendant must notify the United States attorney for this district within 30 days of any
change ofnnm e,residence,ormailing addressuntilal1fnes,restitution,costs,and specialassessm ents imposed
bythisjudgmentarefullypaid.Iforderedtopayrestitution,thedefendantmustnotifythecourtandUnitedStates
attorney ofm aterialchangesin econom ic circum stances.




                                                             D ate ofIm position ofSentence:12/20/2017




                                                             K athleen .W illiam s
                                                             U nited St es D istrictJudge


                                                             Date:          al ln
     Case 1:16-cr-20913-KMW Document 30 Entered on FLSD Docket 12/21/2017 Page 2 of 6

USDC Jrks-
         tl% 5B (Rtv.09/08)-JudgmentinaCriminalCase                                           Pag.e2of6

DEFENDANT:ALIISSA CH AM AS
CA SE N U M BER:113C 1:16-20913-C R-W ILLIAM S

                                            IM PR ISO N M E NT
The defendantishereby comm itted to the custody ofthe United StatesBureau ofPrisonsto be imprisoned fora
totalterm of(42)M onths.
The court m akes the follow ing recom m endations to the Bureau of Prisons: that the D efendant be
designated close to South Florida aspossible.
The D efendantis rem anded to the custody ofthe U nited State: M arshal.

                                                            R ETUR N
Ihaveexecutedthisjudgmentasfollows:




Defendantdelivered on                                                   to

at                                                    ,withacertitiedcopyofthisjudgment.




                                                               IJNITED s'rxfEsMXZ HAL


                                                               DEPUTY UNITED jTATEj-MARSùAL
     Case 1:16-cr-20913-KMW Document 30 Entered on FLSD Docket 12/21/2017 Page 3 of 6

USDC FLSD 2458 (Rev.09/08)-JudamentinaCrimi
                                          nalCase                                                             Paae3of6

D EFEN D AN T:ALI ISSA CH AM A S
CA SE N U M BER :113C 1:16-20913-CR -W lLLIA M S

                                                    SUPERV ISED R ELEA SE
Upon releasefrom imprisonment,thedefendantshallbeon supervised releasefora term of(5)Yearswith the following
specialconditionsim posed.
The defendantmustreportto theprobation office in the districtto which the defendantisreleased w ithin 72 hoursofrelease
from the custody ofthe Bureau ofPrisons.
The defendantshallnotcom m itanotherfederal,stateorlocalcrime.
The defendantshallnotunlawfully possessa controlled substance.The defendantshallrefrain from any unlawfuluse ofa
controlled substance.The defendantshallsubm itto one drug testw ithin 15 daysofrelease from im prisonmentand atleast
two periodic drugteststhereafter,asdeterm ined by the court.
Thedefendantshallnotpossessa ûrearm ,am m unition,destructive device,orany otherdangerousweapon.
Thedefendantshallcooperate in the collection ofDNA asdirected by the probation ofncer.

lfthisjudgmentimposesafineorrestitution,itisaconditionofsupervisedreleasethatthedefendantpay in accordance
withtheScheduleofPaymentssheetofthisjudgment.
Thedefendantm ustcomply with the standard conditionsthathavebeen adopted by thiscourtaswellaswith any additional
conditionson theattached page.
                                     STANDARD CONDITIONS OF SUPERVISION
    l.Thedefendantshallnotleavethejudicialdistrictwithoutthepermissionofthecourtorprobationofficer;
    2.Thedefendantshallreporttotheprobation ofticerand shallsubmitatruthfuland complete written reportwithinthefirsttifteen
       daysofeachmonth;
    3.Thedefendantshallanswertruthfully allinquiriesbytheprobationofticerand follow the instructionsoftheprobationofficer;
    4.Thedefendantshallsupporthisorherdependentsandmeetotherfamily responsibilities;
    5.Thedefendantshallworkregularly atalawfuloccupation,unlessexcusedby theprobationofficerforschooling,training,or
       otheracceptablereasons',
    6.Thedefendantshallnotifythe probation officeratleasttendayspriortoany changein residenceoremploym ent;
    7.Thedeftndantshallrefrain from excessiveuseofalcoholandshallnotpurchase,possess,use,distribute,oradministerany
       controlled substanceoranyparaphernaliarelatedto any controlled substances,exceptasprescribedby aphysician;
    8.Thedefendantshallnotfrequentplaceswherecontrolled substancesareillegallysold,used,distributed,oradministered;
    9.Thedefendantshallnotassociatewith anypersonsengaged in criminalactivity and shallnotassociatewith any person convicted
       ofafelony,unlessgrantedperm ission todo sobytheprobationofficer;
    10.Thedefendantshallpermitaprobationofficerto visithim orheratanytimeathomeorelsewhereandshallpermitconfiscation
       ofanycontraband observed in plain view oftheprobationofficer;
    11.Thedefendantshallnotify theprobation officerw ithin seventy-two hoursofbeingarrested orquestioned bya law enforcem ent
       officer;
    l2.Thedefendantshallnotenterintoanyagreem entto actasan informeroraspecialagentofalaw enforcementagency withoutthe
       pennissionofthecourt;and
    l3.A sdirectedbytheprobation officer,thedefendantshallnotifythirdpartiesofrisksthatm ay beoccasionedbythedefendant's
       criminalrecordorpersonalhistoly orcharacteristicsand shallpermittheprobation oftk erto makesuch notitkationsandto
       confinnthedefendant'scompliancewith suchnotificationrequirement.
     Case 1:16-cr-20913-KMW Document 30 Entered on FLSD Docket 12/21/2017 Page 4 of 6

USDC FLSD 2458 (Rev.09/08)-JudrnentinaCriminalCase                                            Paae4of6

DEFENDANT:ALIISSA CHAM AS
CA SE N UM BER :113C 1:16-20913-C R -W ILLIA M S

                                        SPECIA L CO ND ITIO N S O F SUPERV ISIO N

Surrenderinz to Im m iaration for R em ovalA fter Im prisonm ent:

Atthecompletion oftheDefendant'sterm ofim prisonment,thedefendantshallbesurrendered to thecustody of
the U .S.Im m igration and Custom sEnforcem entforrem ovalproceedingsconsistentw ith the lm m igration and
Nationality Act.Ifrem oved,theDefendantshallnotreentertheUnited Stateswithoutthepriorwritten
permission oftheUndersecretary forBorderandTransportation Security.Thetel'  m ofsupervisedreleaseshallbe
non-reporting whiletheDefendantisresiding outsidethe United States.lftheDefendantreenterstheUnited
Stateswithin theterm ofsupervised release,the Defendantisto reportto thenearestU.S.Probation Officewithin
72hoursoftheDefendant'sarrival.

Unpaid R estitution.Fines.or SpecialA ssessm ents:

IftheDefendanthasany unpaid am ountofrestitution,fines,orspecialassessm ents,theDefendantshallnotify
theprobation ofticerofany m aterialchange in the Defendant'seconom ic circum stancesthatm ightaffectthe
Defendant'sability topay.
     Case 1:16-cr-20913-KMW Document 30 Entered on FLSD Docket 12/21/2017 Page 5 of 6

USDC FLSD 2458 (Rev.09/08)-JudrnentinaCriminalCase                                             Pare5of6

DEFENDANT:ALIISSA CHAM AS
CA SE N U M BER:113C 1:16-20913-C R-W ILLIA M S

                                           C R IM IN A L M O N ETA R Y PENA LTIE S
The defendantmustpay the totalcriminalm onetary penaltiesunderthescheduleofpaym entson Sheet6.
                                  A ssessm ent               Fine              R estitution
          TOTALS                                 $100.00              $0.00            $0.00
If the defendant m akes a partial paym ent, each payee shall receive an approxim ately proportioned
paym ent.unless specified othem ise in tlle priority order or percentage paym ent colum n below .H ow ever,
pursuantto18U.S.C.j3664(1),alInonfederalvictimsmustbepaid beforetheUnited Statesispaid.
N A M E O F PA Y EE                                        T O TA L   RE STITU TIO N   PRIO R ITY O R
                                                           L O SSw    o p o suyro      psu c Exlw c E
# Findings for the totalam ountof losses are required under Chapters 109A ,110,1IOA ,and 113A ofTitle 18 for
offensescom m itted on orafter Septem ber 13,1994,butbefore April23,1996.
*#Assessm entdue imm ediately unlessotherwise ordered by the Coul'
                                                                 t.
     Case 1:16-cr-20913-KMW Document 30 Entered on FLSD Docket 12/21/2017 Page 6 of 6

IJSDC FLS; ;4SB (Rev.09/08)-Judo entinaCrimi
                                           nalCase                                              .......   Paye6off

DEFENDANT:ALIISSA CHAM AS
CA SE NUM BER:113C 1:16-20913-CR-W ILLIAM S

                                      SCH ED ULE O F PA Y M EN TS
Having assessed the defendant's ability to pay, paym ent of the total crim inal m ond ary penalties is due as
follow s:
A.Lum p :um paym entof$100.00 dueimm ediately.

Unlessthecourthasexpressly ordered otherwise,ifthisjudgmentimposesimprisonment,paymentofcriminal
m onetary penalties is due during im prisomnent.A ll crim inal m onetary penalties, except those paym ents m ade
through the Federal Bureau of Prisons' Inm ate FinancialR esponsibility Program , are m ade to the clerk ofthe
court.

The defendant shallreceive creditfor a1lpaym ents previously m ade toward any crim inalmonetary penalties
im posed.
Thisassessm ent/fine/restitution ispayableto theCLERK,UNITED STATES COURTS and istobe addressedto:
U .S.CLERK 'S O FFIC E
A TTN :FIN AN CIA L SECTIO N
400 NO R TH M IA M I A VEN U E,R O O M 08N09
M IAM I,FLO RIDA 33128-7716
The assessment/fine/restitution is payable imm ediately.The U.S.Bureau ofPrisons,U.S.Probation Office and
theU .S.Attorney'sOfticeareresponsibleforthe enforcementofthisorder.

Defendantand Co-DefendantNamesandCaseNumbers(including defendantnumber),TotalA m ount,Jointand
SeveralA m ount,and corresponding payee,ifappropriate.
C ASE NU M BER                                                                   JO IN T A ND SEVEM L
D EFEN DA NT A N D C O -D EFEN D AN T N A M ES                TO TA L A M O UN T A M O UN T
(INCLUDING DEFENDANT NUM BER)
Paymentsshallbeapplied inthefollowingorder:(1)assessment,(2)restitutionprincipal,(3)restitutioninterest,
(4)fineprincipal,(5)fineinterest,(6)communityrestitution,(7)penalties,and(8)costs,includingcostof
prosecution and courtcosts.
